                 Case
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                      8:22-cv-02597-DKC
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                                                                              2 of1 3of 6
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                           District
                                                    __________      of Maryland
                                                                District of __________

  Maryland Chapter of the Sierra Club; Friends of                     )
 Moses Hall; National Trust for Historic Preservation;                )
     Natural Resources Defense Council, Inc.                          )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                             Civil Action No. 22-cv-2597
                                                                      )
 Federal Highway Administration; Stephanie Pollack;                   )
      Gregory Murrill; Maryland Department of                         )
         Transportation; James F. Ports Jr.                           )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Maryland Department of Transportation
                                           c/o Secretary James F. Ports, Jr.
                                           7201 Corporate Center Drive,
                                           Hanover, MD 21076




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Ridhwan Sediqe
                                           Natural Resources Defense Council, Inc.
                                           111 Sutter Street, 21st Floor
                                           San Francisco, CA 94104



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                  CLERK OF COURT

            10/12/2022
Date:
                                                                                            Signature of Clerk or Deputy Clerk
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 Civil Action No. 22-cv-2597

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)    Maryland Department of Transportation
 was received by me on (date)                     10/13/2022          .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

          ✔
          ’ Other (specify): I served the Complaint and Summons by U.S. certified mail.
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:          11/30/2022
                                                                                            Server’s signature

                                                                                   Ridhwan Sediqe, Paralegal
                                                                                        Printed name and title

                                                                               Natural Resources Defense Council
                                                                                  111 Sutter Street, 21st Floor
                                                                                   San Francisco, CA 94104
                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
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